   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-10705
                                         * * * ICRS CONFIDENTIAL * * *

        To: DALBERG, KENNETH - #114187
            UNIT: _N-_D -- _D49-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     07/20/2023
           Date Complaint Received:         07/20/2023
           Subject of Complaint:        15 - ICRS

           Brief Summary:               complains regarding return letter

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                 Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: July 21, 2023                                   Page 1 of 1                         Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                    Case 2:23-cv-01430-WED Filed 03/25/24 Page 1 of 19 Document    1007 - 1
                                                                                32-8
   DEPARTMENT OF CORRECTIONS                                                                                            WISCONSIN
   Department of Adult Institutions                                                                               Administrative Code
   DOC-401 (Rev. 04/18)                                                                                             Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-10705
                                         * * * ICRS CONFIDENTIAL * * *

        To: DALBERG, KENNETH - #114187
            UNIT: _N-_D -- _D49-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
           Date Complaint Acknowledged: 07/20/2023                                          Inmate Contacted? No

           Date Complaint Received:       07/20/2023
          Subject of Complaint:          15 - ICRS

          Document(s) Relied Upon:       DOC 310

          Brief Summary:                 complains regarding return letter

          Summary of Facts:              BK Institution Complaint Examiners review and decide the nature of the issue
                                         within each complaint submission. The Complaint Department will generate a
                                         return letter at the direction of the ICE. It is not the inmate's option to state nor
                                         can the inmate determine if a complaint meets the filing requirements listed in
                                         DOC 310.07. That is a discretionary conclusion made by the ICE upon review
                                         of the text of the complaint submission. Simply put and relevant to inmate's
                                         complaint submissions, just because inmate believes that he is raising a single
                                         issue, that does not guarantee that the claims made in the submission will
                                         constitute a single issue. Complaints are processed in accordance with DOC
                                         310 and inmate Dalberg's complaint submissions are held to the filing
                                         requirements within DOC 310. Inmate Dalberg is advised to be mindful of the
                                         filing requirements when submitting complaints.

          ICE Recommendation:            Dismissed

          Recommendation Date:           07/20/2023




                                         B. Kolb - Institution Complaint Examiner




Print Date: July 25, 2023                                    Page 1 of 1                           Institution Complaint Examiner's Office
                                                      ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                    Case 2:23-cv-01430-WED Filed 03/25/24 Page 2 of 19 Document    1007 - 2
                                                                                32-8
   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-403 (Rev. 04/18)                                                                                         Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER WCI-2023-10705
                                         * * * ICRS CONFIDENTIAL * * *

        To: DALBERG, KENNETH - #114187
            UNIT: _N-_D -- _D49-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
           Date Complaint Acknowledged: 07/20/2023
           Date Complaint Received:         07/20/2023
          Subject of Complaint:             15 - ICRS
           Brief Summary:                   complains regarding return letter
          ICE's Recommendation:             Dismissed
          Reviewer's Decision:              Dismissed

          Decision Date:                    07/25/2023




                                           R. Hepp - Warden

           A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
           decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
           (DOC 310.12, Wis. Adm. Code).




Print Date: July 25, 2023                                       Page 1 of 1                                         Reviewer's Office
                                                         ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                    Case 2:23-cv-01430-WED Filed 03/25/24 Page 3 of 19 Document    1007 - 3
                                                                                32-8
   DEPARTMENT OF CORRECTIONS                                                                                              WISCONSIN
   Department of Adult Institutions                                                                                 Administrative Code
   DOC-405A (Rev. 04/18)                                                                                              Chapter DOC 310


                                                  CCE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-10705
                                         * * * ICRS CONFIDENTIAL * * *

        To: DALBERG, KENNETH - #114187
            UNIT: _N-_D -- _D49-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Appeal Acknowledged:         07/31/2023

           Date Appeal Received:            07/31/2023
          Subject of Complaint:             15 - ICRS

           Brief Summary:                   complains regarding return letter

           Your request for review has been received.

           The Corrections Complaint Examiner (CCE) has 35 days to submit a recommendation to the Office of the
           Secretary (OOS) for Review. The OOS has 45 days to make a decision after receiving the CCE's report. The
           OOS may extend the time for making a decision for cause and upon notice to all interested parties.

           If you do not receive a decision or other notices within that time, you may write directly to:
                                      Secretary of the Department of Corrections
                                      Post Office Box 7925
                                      Madison, WI 53707-7925




Print Date: August 01, 2023                                     Page 1 of 1                         Corrections Complaint Examiner's Office
                                                         ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                    Case 2:23-cv-01430-WED Filed 03/25/24 Page 4 of 19 Document    1007 - 4
                                                                                32-8
   DEPARTMENT OF CORRECTIONS                                                                                       WISCONSIN
   Department of Adult Institutions                                                                          Administrative Code
   DOC-404 (Rev. 04/18)                                                                                        Chapter DOC 310


                                                  CCE REPORT
                                      COMPLAINT NUMBER WCI-2023-10705
                                         * * * ICRS CONFIDENTIAL * * *

       To: DALBERG, KENNETH - #114187
           UNIT: _N-_D -- _D49-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:      07/31/2023
          Date Appeal Received:          07/31/2023
          Subject of Complaint:          15 - ICRS
          Brief Summary:                 complains regarding return letter
          Method of Disposition:            Review on Record? Yes                               Investigation? No

          CCE's Recommendation:          Dismissed
                                         The institution's decision reasonably and appropriately addressed the issue
                                         raised by this inmate. On appeal, the inmate presented no information to
                                         warrant a recommendation overturning that decision. It is recommended this
                                         appeal be dismissed.
          Recommendation Date:          08/10/2023




                                         B. Hompe - Corrections Complaint Examiner




Print Date: September 06, 2023                               Page 1 of 1                     Corrections Complaint Examiner's Office
                                                      ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 5 of 19 Document    1007 - 5
                                                                               32-8
   DEPARTMENT OF CORRECTIONS                                                                                  WISCONSIN
   Department of Adult Institutions                                                                     Administrative Code
   DOC-403 (Rev. 04/18)                                                                                   Chapter DOC 310


                                       OFFICE OF SECRETARY DECISION
                                      COMPLAINT NUMBER WCI-2023-10705
                                         * * * ICRS CONFIDENTIAL * * *


       To: DALBERG, KENNETH - #114187
           UNIT: _N-_D -- _D49-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:       07/31/2023
          Date Appeal Received:           07/31/2023
          Subject of Complaint:           15 - ICRS
          Brief Summary:                  complains regarding return letter

          OOS Decision:                   Dismissed

          Decision Comments:              The following is the Secretary's decision on the Corrections Complaint
                                          Examiner's recommendation of 08/10/2023 in the above appeal: The attached
                                          Corrections Complaint Examiner's recommendation to DISMISS this appeal is
                                          accepted as the decision of the Secretary.
          Decision Date:                 09/05/2023




                                         C. O'Donnell - Office of the Secretary




Print Date: September 06, 2023                               Page 1 of 1                                 Office of the Secretary
                                                      ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 6 of 19 Document    1007 - 6
                                                                               32-8
                                                                                                        GENERAL REPORT
                                                                                                          WCI-2023-10705
                                                State of Wisconsin
                                                  Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:       July 20, 2023
              Date Complaint Received:        July 20, 2023
              Subject of Complaint:         15 - ICRS

              Brief Summary:                complains regarding return letter

        ICE Recommendation Information:        (Signed on 7/20/23 7:31:36AM):
              Document(s) Relied Upon:      DOC 310
              ICE's Summary of Facts:       BK Institution Complaint Examiners review and decide the nature of the
                                            issue within each complaint submission. The Complaint Department will
                                            generate a return letter at the direction of the ICE. It is not the inmate's option
                                            to state nor can the inmate determine if a complaint meets the filing
                                            requirements listed in DOC 310.07. That is a discretionary conclusion made
                                            by the ICE upon review of the text of the complaint submission. Simply put
                                            and relevant to inmate's complaint submissions, just because inmate
                                            believes that he is raising a single issue, that does not guarantee that the
                                            claims made in the submission will constitute a single issue. Complaints are
                                            processed in accordance with DOC 310 and inmate Dalberg's complaint
                                            submissions are held to the filing requirements within DOC 310. Inmate
                                            Dalberg is advised to be mindful of the filing requirements when submitting
                                            complaints.

              ICE's Recommendation:         Dismissed
              ICE's Recommendation Date: July 20, 2023

        RA's Decision Information:      (Signed on 7/25/23 11:19:06AM):
              RA's Decision:                Dismissed
              RA's Decision Date:           July 25, 2023

        Appeal to CCE Information:
              Date Appeal Acknowledged:     July 31, 2023
              Date Appeal Received:         July 31, 2023

        CCE's Recommendation Information:         (Signed on 8/10/23 11:20:10AM):
              CCE's Summary:                The institution's decision reasonably and appropriately addressed the issue
                                            raised by this inmate. On appeal, the inmate presented no information to
                                            warrant a recommendation overturning that decision. It is recommended this
                                            appeal be dismissed.
              CCE's Recommendation:         Dismissed
              CCE's Recommendation Date: August 10, 2023




Print Date: January 03, 2024                                 Page 1 of 2
                                                     ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 7 of 19 Document    1007 - 7
                                                                               32-8
                                                                                              GENERAL REPORT
                                                                                                WCI-2023-10705
                                            State of Wisconsin
                                              Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        OOS' Decision Information:   (Signed on 9/5/23 5:21:52PM):
              OOS' Summary:              The following is the Secretary's decision on the Corrections Complaint
                                         Examiner's recommendation of 08/10/2023 in the above appeal: The
                                         attached Corrections Complaint Examiner's recommendation to DISMISS
                                         this appeal is accepted as the decision of the Secretary.

              OOS' Decision:             Dismissed
              OOS' Decision Date:        September 05, 2023




Print Date: January 03, 2024                             Page 2 of 2
                                                 ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 8 of 19 Document    1007 - 8
                                                                               32-8
                                                                   State of Wisconsin
                                                                     Department of Corrections

                                                               DISTRIBUTION ITEMS
                                                       for COMPLAINT NUMBER WCI-2023-10705
       Item                           Create Date             Created By          Sent To            Inmate ID          Print Date             Printed By
ICE Receipt                    07/20/2023 7:26:58AM    Brian Kolb                WCI                   114187    07/21/2023 2:02:55PM   Brian Kolb
ICE Report                     07/25/2023 11:19:06AM   Randall Hepp              WCI                   114187    07/25/2023 1:58:05PM   Brian Kolb
RA Report                      07/25/2023 11:19:06AM   Randall Hepp              WCI                   114187    07/25/2023 1:58:06PM   Brian Kolb
CCE Receipt                    07/31/2023 11:09:02AM   Matthew Greenwood         WCI                   114187    08/01/2023 2:15:25PM   Brian Kolb
CCE Report                     09/05/2023 5:21:52PM    Cindy O'Donnell           WCI                   114187    09/06/2023 8:34:53AM   Tonia Moon
OOS Report                     09/05/2023 5:21:52PM    Cindy O'Donnell           WCI                   114187    09/06/2023 8:34:53AM   Tonia Moon




Print Date: January 03, 2024                                                      Page 1 of 1
                                                                           ** ICRS CONFIDENTIAL **

                                        Case 2:23-cv-01430-WED Filed 03/25/24 Page 9 of 19 Document 32-8                                EXHIBIT 1007 - 9
                                                      EXHIBIT32-8
Case 2:23-cv-01430-WED Filed 03/25/24 Page 10 of 19 Document  1007 - 10
                                                      EXHIBIT32-8
Case 2:23-cv-01430-WED Filed 03/25/24 Page 11 of 19 Document  1007 - 11
                                                     EXHIBIT32-8
Case 2:23-cv-01430-WED Filed 03/25/24 Page 12 of 19 Document 1007 - 12
                                                     EXHIBIT32-8
Case 2:23-cv-01430-WED Filed 03/25/24 Page 13 of 19 Document 1007 - 13
                                                      EXHIBIT32-8
Case 2:23-cv-01430-WED Filed 03/25/24 Page 14 of 19 Document  1007 - 14
                                                      EXHIBIT32-8
Case 2:23-cv-01430-WED Filed 03/25/24 Page 15 of 19 Document  1007 - 15
                                                     EXHIBIT32-8
Case 2:23-cv-01430-WED Filed 03/25/24 Page 16 of 19 Document 1007 - 16
                                                     EXHIBIT32-8
Case 2:23-cv-01430-WED Filed 03/25/24 Page 17 of 19 Document 1007 - 17
3-cv-01430-WED FiledEXHIBIT
                    03/25/24 1007
                              Page- 18
                                    18 of 19 Docum
3-cv-01430-WED FiledEXHIBIT
                    03/25/24 1007
                              Page- 19
                                    19 of 19 Docum
